     CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 1 of 9




                          UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
------------------------------------------------------------------------------------------------------

ISRAEL GARCIA, individually and on
behalf of a class of similarly situated individuals,

                                 Plaintiff,                      Civ. No. 16-2574 (MJD/BRT)

v.

TARGET CORPORATION, a Minnesota
corporation,

                                 Defendant.


                                   PROTECTIVE ORDER


        This matter is before the Court upon the joint motion of the parties for the

entry of a Protective Order (Doc. No. 43) pursuant to Fed. R.Civ. P. 26(c) that

confidential information be disclosed only in designated ways. The joint motion is

GRANTED and IT IS HEREBY ORDERED that:

      1.        As used in the Protective Order, these terms have the following
meanings:

                a.      “Attorneys” means counsel of record;

                b.      “Confidential’ documents are documents designated pursuant to
                        paragraph 2;

                c.      “Documents’ are all materials within the scope of Fed. R. Civ.
                        P. 34;

                d.      “Outside Vendors” means messenger, copy, coding, and other
                        clerical services vendors not employed by a party or its
                        Attorneys; and
                                                  1
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 2 of 9




              e.     “Written Assurance” means an executed document in the form
                     attached as Exhibit A.

       2.     A Party may designate a document “Confidential,” to protect

information within the scope of Fed. R. Civ. P. 26(c).

       3.     All Confidential documents, along with the information contained in

the documents, shall be used solely for the purpose of this action, and no person

receiving such documents shall, directly or indirectly, use, transfer, disclose, or

communicate in any way the documents or their contents to any person other than

those specified in paragraph. Any other use is prohibited.

       4.     Access to any Confidential document shall be limited to:

              a.     the Court and its staff;

              b.     Attorneys, their law firms, and their Outside Vendors;

              c.     persons shown on the face of the document to have authored or
                     received it;

              d.     court reporters retained to transcribe testimony;

              e.     the parties;

              f.     outside independent persons (i.e., persons not currently or
                     formerly employed by, consulting with, or otherwise associated
                     with any party) who are retained by a party or its Attorneys to
                     provide assistance as mock jurors or focus group members or
                     the like, or to furnish technical or expert services, and/or to give
                     testimony in this action; and

              g.     other persons only by written consent of the producing party or
                     upon order of the Court and on such conditions as may be
                     agreed or ordered.


                                            2
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 3 of 9




         5.   Third parties producing documents in the course of this action may also

designate documents as “Confidential,” subject to the same protections and

constraints as the parties to the action. A copy of the Protective Order shall be served

along with any subpoena served in connection with this action. All documents

produced by such third parties shall be treated as “Confidential” for a period of 14

days from the date of their production, and during that period any party may

designate such documents as “Confidential” pursuant to the terms of the Protective

Order.

         6.   Each person appropriately designated pursuant to paragraphs 4(f) to

receive Confidential information shall execute a “Written Assurance” in the form

attached as Exhibit A. Opposing counsel shall be notified at least 14 days prior to

disclosure to any such person who is known to be an employee or agent of, or

consultant to, any competitor of the party whose designated documents are sought to

be disclosed. Such notice shall provide a reasonable description of the outside

independent person to whom disclosure is sought sufficient to permit objection to be

made. If a party objects in writing to such disclosure within 14 days after receipt of

notice, no disclosure shall be made until the party seeking disclosure obtains the

prior approval of the Court or the objecting party.

         7.   All depositions or portions of depositions taken in this action that

contain confidential information may be designated “Confidential” and thereby

obtain the protections accorded other “Confidential” documents. Confidentiality


                                           3
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 4 of 9




designations for depositions shall be made either on the record or by written notice to

the other party within 14 days of receipt of the transcript. Unless otherwise agreed,

depositions shall be treated as “Confidential” during the 14-day period following

receipt of the transcript. The deposition of any witness (or any portion of such

deposition) that encompasses Confidential information shall be taken only in the

presence of persons who are qualified to have access to such information.

       8.     Any party who inadvertently fails to identify documents as

“Confidential” shall, promptly upon discovery of its oversight, provide written notice

of the error and substitute appropriately-designated documents. Any party receiving

such improperly-designated documents shall retrieve such documents from persons

not entitled to receive those documents and, upon receipt of the substitute

documents, shall return or destroy the improperly-designated documents.

       9.     If a party files a document containing Confidential information with the

Court, it shall do so in compliance with the Electronic Case Filing Procedures for the

District of Minnesota. Prior to disclosure at trial or a hearing of materials or

information designated “Confidential”, the parties may seek further protections

against public disclosure from the Court.

       10.    In connection with any motion filed with this Court, only those

portions of a party’s submission (e.g., memorandum of law, affidavit, and exhibits)

which meet the requirements for treatment of protection from public filing (e.g.,

because they are subject to the attorney-client privilege or work product doctrine, or


                                            4
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 5 of 9




meet the standards articulated by Fed. R. Civ. P. 26(c)(1)(G)), shall be filed under

seal. Designation of material as confidential or protected by any party pursuant to a

protective order as the sole basis for filing the material under seal shall not satisfy

this requirement. With respect to any submission filed with the Court which is

sealed and posted on ECF with a placeholder, the sealed submission shall be sent

electronically or hand delivered to all parties and hand delivered to the Court

contemporaneously with the documents being posted on ECF

       11.    Any party may request a change in the designation of any information

designated “Confidential.” Any such document shall be treated as designated until

the change is completed. If the requested change in designation is not agreed to, the

party seeking the change may move the Court for appropriate relief, providing notice

to any third party whose designation of produced documents as “Confidential” in the

action may be affected. The party asserting that the material is Confidential shall

have the burden of proving that the information in question is within the scope of

protection afforded by Fed. R. Civ. P. 26(c).

       12.    Except on privilege grounds not addressed by this Protective Order, no

party may withhold information from discovery on the ground that it requires

protection greater than that afforded by this Protective Order unless the party moves

for an order providing such special protection. This paragraph does not apply to

objections to discovery on grounds other than the need for an order protecting

confidentiality.


                                          5
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 6 of 9




       13.     To the extent any federal or state law governing the disclosure and use

of consumers’ financial information – including “nonpublic personal information”

within the meaning of the Gramm Leach Bliley Act, 15 U.S.C. § 6802, et seq., and

its implementing regulations – permits such disclosure only as required by an order

of a court, the producing party’s production of such information in accordance with

this Order shall constitute compliance with such requirement. To the extent any such

laws require a producing or requesting party to give notice to the subject of any

consumer financial information prior to disclosure, the Court finds that there is good

cause to excuse such requirement.

       14.     Within 60 days of the termination of this action, including any appeals,

each party shall either destroy or return to the opposing party all documents

designated by the opposing party as “Confidential,” and all copies of such

documents, and shall destroy all extracts and/or data taken from such documents.

Each party shall provide a certification as to such return or destruction within the 60-

day period. However, Attorneys shall be entitled to retain a set of all documents filed

with the Court and all correspondence generated in connection with the action.

       15.     Any party may apply to the Court for a modification of the Protective

Order, and nothing in this Protective Order shall be construed to prevent a party from

seeking such further provisions enhancing or limiting confidentiality as may be

appropriate.

       16.     No action taken in accordance with the Protective Order shall be


                                           6
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 7 of 9




construed as a waiver of any claim or defense in the action or of any position as to

discoverability or admissibility of evidence

       17.    The obligations imposed by the Protective Order shall survive the

termination of this action.


Dated: October 4, 2016
                                               s/ Becky R. Thorson
                                               BECKY R. THORSON
                                               United States Magistrate Judge




                                          7
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 8 of 9




                                    EXHIBIT A
                                WRITTEN ASSURANCE

      _______________________________declares that:

      I      reside   at   _______________________________       in    the    City     of

_________________,          County   of       _____________________,         State     of

__________________. My telephone number is ______-_______-________.

      I am currently employed by _______________________________, located

at___________________________________________________________, and my

current                                    job                                       title

is_________________________________________________________.

      I have read and I understand the terms of the Protective Order dated

_______________, 2016, filed in Garcia v. Target Corp., Case No. 16-CV-02574-

MJD-BRT (Davis/Thorson), pending in the United States District Court for the

District of Minnesota. I agree to comply with and be bound by the provisions of the

Protective Order. I understand that any violation of the Protective Order may subject

me to sanctions by the Court.

          I shall not divulge any documents, or copies of documents, designated

“Confidential” obtained pursuant to such Protective Order, or the contents of such

documents, to any person other than those specifically authorized by the Protective

Order. I shall not copy or use such documents except for the purposes of this action

and pursuant to the terms of the Protective Order.

      As soon as practical, but no later than 30 days after final termination of this
                                          8
   CASE 0:16-cv-02574-MJD-BRT Document 49 Filed 10/04/16 Page 9 of 9




action, I shall return to the attorney from whom I have received them, any documents

in my possession designated “Confidential,” and all copies, excerpts, summaries,

notes, digests, abstracts, and indices relating to such documents.

       I submit myself to the jurisdiction of the United States District Court for the

District of Minnesota for the purpose of enforcing or otherwise providing relief

relating to the Protective Order.


Dated: ___________________, 2016.


       ______________________________________
                                   Signature


       ______________________________________
                                   Name (please print or type)




                                           9
